Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 1 of 15 PageID #:11




                        EXHIBIT A
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 2 of 15 PageID #:12
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 3 of 15 PageID #:13
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 4 of 15 PageID #:14
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 5 of 15 PageID #:15
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 6 of 15 PageID #:16
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 7 of 15 PageID #:17
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 8 of 15 PageID #:18
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 9 of 15 PageID #:19
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 10 of 15 PageID #:20
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 11 of 15 PageID #:21
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 12 of 15 PageID #:22
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 13 of 15 PageID #:23
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 14 of 15 PageID #:24
Case: 1:19-cv-04892 Document #: 1-1 Filed: 07/22/19 Page 15 of 15 PageID #:25
